                                 Case 23-10831-MFW             Doc 1011-3          Filed 02/26/24       Page 1 of 1

                                                            EXHIBIT B

                                                  Lordstown Motors Corp., et al.
                                                         Case No. 23-10831
                                      Summary of Hours and Discounted Fees Incurred by Category
                                              January 1, 2024 through January 31, 2024


                                                                                         Total          Total Fees
              Category                                                   Exhibit     Billed Hours       Requested

              Audit Services                                               C1              472.7    $     139,775.00
              Retention Services                                           C2                0.0    $            -
              Fee Application Preparation Services                         C3                9.4    $       2,070.80

                                        Total                                              482.1    $     141,845.80




KPMG LLP Monthly Fee Statement                                                                                         Page 2 of 46
